Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 1 of 13




                                                        EXHIBIT 26
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 2 of 13
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 3 of 13
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 4 of 13
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 5 of 13
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 6 of 13
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 7 of 13
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 8 of 13
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 9 of 13
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 10 of 13
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 11 of 13
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 12 of 13
Case 5:23-cv-00913-J Document 14-26 Filed 12/29/23 Page 13 of 13
